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State Hospital Review and

NYS Department of Health

  

       
     
 

Niskayuna Operating Co. LLC

 

County: Schenectady (Niskayuna)
Purpose: Establishment

Description

Niskayuna Operating Cao , LLC d/b/a Pathway
Relwbititation and Spccial Care Center, is seeking
approval to establish & new operator of Northwoods
Rehabilitation and Extended Care Facility at Hilltop, an
existing 112 bed residential health care facility (RHCF)
located at 1805 Providence Avenue, Niskayuna.

The proposed change in ownership is part of a four facility
acquisition involving Highgate LTC Management, LLC,
the operator and Highgate Manor Group, LLC, the owner
of thé realty wid filed voluntary patitiens for
reorganization under Chapter 4 1 of the Bankruptcy Code.
The bankruptcy proceeding is ongoing. The RHGF is
currantly beiiy operated by EF Consulting, (sole member
Esther Farkovitz) approved as receiver by DOH an
November 3, 2008.

On August 12, 2008 OASIS, HC, LLC {sole member then
Benjamin Lesida) entercd into a purchase agreament to
acquire the rights, title and interest in the real estate,
bulldery and operations, Tha bankniptcy court approved
the sale to OASIS on August 28, 2008.

Also, OASIS has designated Niskayuna Operating Co.
LLC as the proposed operator of Northwoods
Rehabilitation and Extended Care Facility at Hilltop, and

will assign the real property interest to 1 805 Providence
Avenue, LLC. :

There are no project costs associated with this proposal.

DOH Recommendation
Contingent approval

Need Summary
Ocoupancy at Northwoods Rehabilitation and Extended
Care Facility at Hilltop for 2006 and 2007 was 78.6
percent and 81.4 percent respectively. Schenectady

- County's occupancy for the same period was 86.62
percent (2006) and 86.37 percent (2007).

dibia Pathway Rehabilitation and Special Care Center

Planning Council
Project # 082134-E

Program: Residential Health Care Facility
Submitted: October 29, 2008

Executive Summary

RHCF Bed Need — Schenectady -

 

 

 

 

 

 

2007 Prajecten Need 4,239
Current Bedo 1.214
Beds under Construction -210*
Total Resources 1,004
Unmet Need 235

 

 

 

‘Effective 12/31/08 Glendale Home in Schenectady
decertified 140 beds per Berger recommendations.

Program Summary

No changes in program or physical environment are being
proposed IM Ins application. Ownorohip of the eperation
currently and after the re requested change, is as follows:

Current . Proposed

Highgate LTC Management LLC Niskayuna Operating
Co., LLC d/b/a Pathway
Rehabititation and
Special Care Center
Esther Farkoviiz (60%)

Bugene Nachamkin (1%)
Bent Phiippso (50%)

Dianna Koehler (49%)
Howard Krant (26%)

Scott Bialick (25%)

Financial Summary

The facility is being sold (n acvordance with the
bankruptcy proceedings.

Budget: Revenues: $16,709,057
. Expenses: 16,056 794
Gain/(Loss): $654,263

Subject to noted contingencies, it appears that the
applicant has demonstrated the capability 16 prucved in a

financially feasible manner.

’ Architectaral Summary

The project is for Establishment action only, therefore, no
Architectural recammendation is required.

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Project # 082134-E Exhibit Page 1

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| | Need Analysis | |

Background

Occupancy at Northwoods Rehabilitation and Extended Care Facility at Hilltop for 2006 and 2007 was 76.6 percent
and 81.4 percent respectively. Schenectady County's occupancy for the same period was 86.62 percent (2006) and
86.37 percent (2007).

RHCEF Bed Need — Schenectady

 

 

 

 

 

 

 

 

 

2007 Projected Need 1,239
| Current Beds . 1,214
Beds under Construction -210*
Total Resources 1,004
Unmet Need 235

 

 

‘Effective 12/31/08 Glendale Home in Schenectady decertified 140 beds per Berger recommendations.
There will be no chango in bads or services when this transfer of ownership is approved.
Contingent approval is recommended.

BACKGROUND

Between 2006 and 2007,utilization at Northwoods Rehabilitation and Extended Care Facility at Hllitop inuieased by
4.8 percent, while utilization in Schenectady County remained almost constant, as shown below:

RHGF Utilization

 

 

 

 

 

 

 

Facility/County % Occupancy 2006 %Y*Occupancy 2007
Noiliwoeds Rehabilitation at 76.6% 81.4%
Hilltop

Schenectady County B6.62% 86.37% |

 

 

 

 

 

 

 

At the end of 2006, the case mix index for 85 patients was 1.25 for RHCE residents and 2.74 fer TBI residents.
Relative to the RHCF residents, there were B Physical A's and 4 Physical B; for TB! residents, there were 6 Physical

A's and 3 Physical B's.
ACCESS

Regulations indicate that the Medicaid patient admissions standard shall be 75 percent of the annual percentage of all
Macicaid admissions for the long term care planning area in which the applicant facility is located. Such planning
area percentage shail not include residential health care facilities that have an average length of stay 30 days or
fewer, it there are four ur fewer residential health care facilities in the planning area, the applicable standard for a
planning area shall be 75 percent of the planning area percentage of Medicaid admissions or 75 percent of the Health
Systema Agonoy atéa Bedi aye Ul Wicuivaid admivsiens, “hichever ie less. In calculating such percentages, the
Department will use the most current data which have been received and analyzed by lhe Deparimen

Northwoods Rehabilitation and Extended Care Facility at Hilltop achieved and surpassed the 75 percent planning
average for 2006 and 2007.° The facility reported Medicaid admissions of 27.86 percent and 20.74 percent in 2006.

and 2007 respectively.

Recommendation ;
From a need perspective, approval is recommended,

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Northwoods Rehabilitation and Extended Care . RHCF 11/3/08 to Present
Facility at Troy

« INDIVIDUAL BACKGROUND REVIEW:

Esther Farkovitz, the daughter of Benjamin Landa, discloses employment history of Lucille Roberts, gym, as a Yoga
instructor from 2005 to 2006; Norman Dida, electronic importer, as payroll/clerical from 2002 to 2003; Brookhaven
Rehabihtation and Heallti Cure Center, a RHGF, ao marketing Consultant few 1998 to 2001: E. Michaole, jaweler, at
administrative assistant from 1998 to 2UUU, Ms. Farkovite digulusescwnerahip intercst in:

Nassau Extended Care Facility 2004 to Present

Park Avenue Extended Care Facility 2004 to Present

Throgs Neck Extended Care Facility 2004 to Present

Townhouse Extenced Care Center 2004 to Present

Receiver for:

Northwoods Rehabilitation and Extended Care 11/3/08 to Present
Facility at Cortiand

Northwoods Rehabilitation and Extended Care 41/3/08 to Present
Facility at Hilltop ;

Northwoods Rehabilitation and Extended Care "44/3/08 to Present
Facility at Rosewood Gardens

Northwoods Rehabilitation and Extended Care 11/3/08 to Present

Facility at Troy

Bent Philipson discloses employment at Woodmere Rehab and Health Care Center from 1996 to present as manager.
Mr. Phijipson discloses he is a mem ber of SentosaCare, LLC, which provides a variety of support services to facilities
that have commen ownership interest. Mr. Philipson discloses ownership interest in:

Avaton Garden Rehabilitation and Health Care Center 2003 to Present

Bayview Nursing and Rehabilitation Center 2003 to Present
Nassau Extended Care Facility 2004toPresent ’.
Park Avenue Extended Care Facility 2004 to Present

The Hamptons Center for Rehabilitation and Nursing 7/10/08 to Present

Throgs Neck Extended Care Facility 2004 to Present
Tawnhouse Extended Care Center 2004 to Present

» CONCLUSION

No adversé Information has been received concerning the character and competency of the applicants.

The review of the operations of Bayview Nursilty-& Rehabilitation Center from 2003 tn present reveals that:

« [he facility has Leen asseaccd a fine in the amount of $7000.00 pursuant to a Stipulation and Order NH-05-
050 issued September 29, 2005 for su veillance findings of November 16, 2004. Deficiencies Were fourni
under 10 NYCRR Part 415.5(h)(2) Quality of Life: Environment, 415.12 Quality of Care; 416.12(c)(1) Quality
of Care Pressure Sores; 415. 12(h)(2) Quality of Care: Accidents.

» The facility has been assessed a fine in the amount of $2,000.00 pursuant to a Stipulation and Order NH-07-
046 issued June 13, 2007 for surveillance findings of December 2, 2005. Deficiencies were found under 10

NYCRR Part 415.11(c}(3) Gom prehensive Care Plans.

The review of the operations of Northwoods Rehabilitation and Extended Care Facility at Cortland from 11/3/08 to
present reveals that ihe facility has been assessed a fine in the amount of $14,250.00 pursuant to a March 29, 2007
recertification survey, which has not been paid. The facility has pankruptcy proceedings and CMS will seek payment
of all outstanding Civil Manetary Penalties for all Northwoods facilities via the bankruptcy court.

The review of the operations of Bayview Nursing & Rehabilitation Center for the time period given reveals that a
substantially consistent high level of care has been provided since there were no repeat enforcements.

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plans to convert 15 residential health care facility beds to 45 ventilator-dependent beds and utilize the remaining unit
as a respiratory step-down unit.

» OONGLUSION:

No changes in program or physical environment are peing proposed in this application. No administrative services

agrewtwel is Lunternplated with SentooaCare of any ather entity

Recommendation
From a programmatic perspective, approval is recommended.

Le Financial Analysis |

Background

 

 

 

Niskayuna Operating Co. LLG d/b/a Pathway Rehabilitation and Special Gare Center, is seeking approval to establish
4 new operator of Northwoods Rehabilitation and Extended Care Facility at Hilltop, an existing 112 bed residential
health care facility (RHGF) located at 1805 Providence Avenue, Niskayuna (Scheneciady County). The 112 bads are
broken down Into 4 separate categories; there are 40 RHCF specific beds, 36 Specialty Pediatric beds, 28 Head Injury
beds and 6 Long term Vent Beds. Due to this there arc specific Medicaid, Medicare and Private pay rates for all of the
categories. The proposed change in ownership is part of a four facility acquisition involving Highgate LTC
Management, LLC, the operator and Highgate Manor Group, LLC, the owner of the realty which filed voluntary
petitions far rearganization under Chapter 41 of the Bankruptcy Code. The court appointed trustee of Highgate Manor
Group, LLG is Mark |, Fishman, ESQ, who has been charged with the aulhority and functions of a Chapter 11 Trustee
to sell the facies. Luiy Hill Alliance Company was Apprintay @ucuiver by the Gupramy Caurt of the State of New
York on November 29, 2006. The RHE is currently being operated by EF Consulting, LLC as receiver under the
Sectian 2810 of the Public Health Law. DOH approved (he appointment of EF Consulting, LLG, whose sole member is
Esther Farkoviiz as tne new receiver on November 3, 2UU8, THe balikruptcy court approved the gale tn Oasis HC.
LLC on August 28, 2008. The gale is contingent upon CON approval and the closing is to take place 30 days after

issuance of non-contingent CON approval.

Ownership of the operation, currently and after the requested change, is as follows:

Current Proposed

Highgate LTC Management, LLG Niskayuna Operating Co., LLC d/b/a Pathway
Rehabilitation and Special Care Center

Eugene Nachamkin 4% Membership Esther Farkovitz 50% Membership

Dianna Koehler 49% Membership Bent Philipson 50% Membership

Howard Krant 25% Membership

Scott Bialick 25% Membership

The realty is currently owned by Highgate Manor, LLC, ownership of the realty, currently and after the requested
change, is as follows:

Current Proposed

Highgate Manor Group, LLC 4805 Providence Avenue, LLC

Eugene Nachamkin 4.0% Membership Benjamin Landa ~ 17.5% Merbership
Dianna Koehter- 34.0% Membership Philipson Family 47.5% Membership
Nachamkin Limited Partnership /

Howard Krant 47.5% Membership David Rubinstein 40.0% Mambership
Patricia Brudut 40.0% Mambershin Rochel David 10.0% Membership
Longview Horizon, LLC 30.0% Membership Leah Freidman 10.0% Membership
Scott Bialick - 47.5% Membership Goldie Platschek 5.0% Membership

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retroactive adjustments and related documents prior to
closing; tanks owned by Northeast Gas Technologies and
personal property of residents.

Liabilities Assumed: No liabitities will b¢ assumed since all liabilities will be
satisfied through the bankruptcy court settlement.

Liabilities Assumed During Purchaser or “operating designee” shall use accounts

Temporary Receivership: receivables, without credit to the purchase price, fowards any

liabilities arising from the operation of the facilities in
accordance with the orders entered by the Bankruptcy Court,

Purchase Price: $23,300,000 summarized as foliows; $2,129,620 for
Northwoods Réhabilitation and Extended Care facility at

Rosewood Gardens, $6,514,680 at Cortland, $10,934,690 at

Hilltop and $3,727,010 at Troy.

Payment Of Purchase Price A deposit of $2,275,000 paid to the trustee to be held in
escrow with the remaining $21,025,000 to be paid held by
trustee prior to closing.

Oasis HC, LLC is financing all four realty and operational entities through a pro-rated share of the purchase price with
totals $18,300,000, resulting in an equity requirement of $5,000,000. $2,275,000 is being held in deposit and the
remaining $2,725,000 will be taken from the proposed realty entities. Presented as BFA Attachment C is the net worth

of the proposed members of the realty entities.

ASSIGNMENT AGREEMENT

The change in operational and realty ownership will be effectuated in accordance with an executed assignment
agreement, the terms of which are summarized below:

Date: October 6, 2008

Assignor: Oasis HC, LLC

Assignee: . 4805 Providence Avenue, LLG

Operating Designee: Niskayuna Operating Co., LLC

Assets Assigned: Assignor’s right, title and interest as Buyer under the Purchase
Agreement with respect to the Assigned Property.

Obligations Assigned: Assumes all obligations on the part of the Buyer to be performed

under Purchase Agreement relating to the Assigned Property.

LEASE AGREEMENT AND MEDICAID CAPITAL REIMBURSEMENT

Facility occupancy is subject to an executed lease agreement, the terms of which are summarized as follows:

Date: October 15, 2008
Premises: A112 bed RHCF located at 1805 Providence Avenue, Niskayuna, N'Y
Lessor. 4805 Providence Avenue, LLC :
' Lessee: Niskayuna Operating Co., LLC
Terms: 30 years commencing on the execution of the lease
Rentak $1,109,376 per year ($92,448 per month)
Provisions: Lessee is responsible for taxes, insurance, utilities and maintenance.

The lease arrangement is a non-arm’s length agreement. The applicant has submitted an affidavit attesting to the
relationship between the landlord and operating entity. The proposed operator Is only paying the lease payments for
the operations of these four facilities. There is no other consideration paid by the applicant for these transactions.

Currently, the facility Medicaid capital reimbursement is based on the return of and return on equity for recent
improvements, with a remaining useful fife of 21 years. This methodology will not be altered upon change in
ownership. The facility will experience average annua! Medicaid reimbursement shortfalls of approximately $542,907

over the remaining lease term.

There are no Medicaid liabilities to be assumed since this will be resolved through bankruptcy.

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The reason the Medicare vent rate is lower than the Medicare RIICF rate is due to collections on 4 Medicare vent
account. All of the rates are net rates, not changes, so the net rates can be influenced by such recoveries by
Medicare. Since the Medicare vent days are so few at the facility, it only takes one.patient account to cause a
collection problem which If turn would vause the net ratc to be lower.

The reason the budgeted private pay TBI rate is lower than the budgeted private pay RHCF rate |s because the
Medicare cninsuirance payments are bélhd posted us plivale pay monies rather than Medicare monies

CAPABILITY AND FEASIBILITY

[he purehase pricy will be satisfied by the landlord by a loan of $8,588,190 at an interest rate of 8% for 10 years, with
a 20 year amortization with the remaining S2 346,500 from 1805 Providence Avenue, LLG equity, A letter of interest
has been submitted by the applicant from Greystone.

Working capital requirements are astimated at $2,675,800, based on two months of first year expenses, which
$1,337,883 will by satisfied from the proposed member's equity and the remaining $1 ,337,917 will be satisfied through
# Ioan from Greystone at B% ever § years A letter of interest has been supplied by the bank, An affidavit from each
member which states that he or she is willing to contribute resources disproportionate to ownership DEICENLAYES bette
been provided by both proposed members. Presented as BFA Attachment A, is the Net Worth of praposed members.

The submitted budget indicates that a net income of $654,263 would ba maintained during the first year following
change in ownership. Presented as BFA Attachment B is the pro forma balance sheet of Niskayuna Operating Co.,
LLC d/b/a Pathway Rehabilitation and Special Care Center, which indicates positive members’ equity of $1,337,883 as
of the first day of operations. The following is noted with respect to the projected first year budget in compariscn to the
2007 cost report filed with the Department and the 2008-2010 budget:

a Overall utilization bY payor and patient day has increased since 2007 due to the downsizing of 3 homes in
Schenectady County per thé USFBEE HIMtiUaLe,

» Average patient revenue for Medicare and Private Pay is within the per diem rate corridors reported on the 2007

cost report.

« Budgeted 2009 Medicaid rate is lower than the projected 2009 Medicaid rate based on the 2009-2010 budget
changes and, therefore, financial projections will nut be adversely affected.

The facility experienced positive working capital, equity and a net operating lose in 2007 and is in receivership under
Chapter 11 of the Bankruptcy Code. The 2007 and 2006 audited financial statements are.not available.

As shown on BFA Attachment E, Avalon Gardens Rehabilitation Center had an average negative working capital
position and a positive net asset position, and generated an average nat loss of $379,217 during the period 2005
through 2007, The average net loss is due to a change of operators which occurred in 2003. The base year cost
report was not filed until 2005 when the 90% threshold was aéhleveu it uider for the facility to receive the pending

Medicaid adjustment for rebasing-

As shown un BFA Attachment F, Bayview Nursing and Rehabilitation Center had average positive working capital and
het assul pusitions, and generated an average net income of $391,251 during the period 2005 through 2007, .

As shown on BFA Attachment G, Nassau Extended Gare Facility had average positive working capilal and net asset
positions, and generated an average net income of $1,077,658 during the period 2005 through 2007.

As shown on BFA Attachment H, Park Avenue Extended Care Facility had average positive working capital and net
asset positions, and generated an average net income of $555,026 during the period 2005 through 2007. The 2005
net loss was due to a change in ownership and operations have since been improved.

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Project # 082134-E Exhibit Page 11

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BFA Attachment A

Niskayuna Operating Co., LLC d/b/a Pathway Rehasilitation and Special Care Center

Net Worth

ASSETS

Cash

Notes Receivable

Real Estate

Cash Value of Life Insurance

Health Facility Interests

TOTAL ASSETS
LIABILITIES

Mortgages Payable

TOTAL LIABILITIES
NET WORTH
id LOP/66E819

Esther Farkovitz Bent Philipson

As of 4/28/2009

$45,000
0

650,000

0
4,855,000

$2,550,000

300,000

$300,000

2,250,000

As of 4/24/09

$1,431,000
1,535,000
6,005,000
65,000
24,054,050

$33,090,050

20,824,000

$20,824,000

12,266,05

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Case 1:10-cv-01265-GTS-DRH

1805 PROVIDENCE AVENUE, LLC

PRO FORMA BALANGE SHEET

ASSETS
Nursing Home - Real Property

TOTAL ASSETS
LIABILITIES AND EQUITY

LIABILITIES
Mortgage
TOTAL LIABILITIES

MEMBER'S EQUITY

TOTAL LIABILITIES AND
MEMBER'S EQUITY

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$10,934,690

$10,934,690

$8,588,190
$8,588,190

$2,346,500

$10,934,690

BFA Attachment 8 (cont)

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BFA Attachment D

Financial Summary

Northwoods Rehabilitation and Extended Gare Facility at Hilitep

FISCAL PERIOD ENDED

 

* Note: 2006 Financial Data
was unavailadle as the facility
has not provided either
certified financlats or a full cost

 

 

 

 

 

 

 

 

 

 

42/31/07 12/31/05 report in that year.

ASSETS - CURRENT $12,668,051 $8,925,526
ASSETS - FIXED AND OTHER 743,954 919,891
LIABILITIES - CURRENT 10,529,096 3,889,974
LIABILITIES - LONG-TERM 1,654,407 939,965
EQUITY 4,198,502 5,016,578
INCOME $15,720,105 $13,847,245
EXPENSE 47,402,543 14,908,771
NET INCOME (1,682,348} (1,061,526)
OPERATORIRELATIVE SALARIES
NUMBER OF BEDS 12 112
NUMBER OF DAYS IN YR 465 365
MAX PATIENT BED DAYS 40,880 40,880
MEDICAID PATIENT DAYS REPORTED 17,552 17,621
MEDICARE PATIENT DAYS REPORTED 8,746 9,760
PRIVATE/JOTHER PATIENT DAYS REPORTED 6,370 4,014
TOTAL PATIENT DAYS REPORTED 32,688 31,395
PERCENT OF OCCUPANCY {DAYS} 79.97% 76.80%
PERCENT OCCUPANCY (DAYS):

MEDICAID 53.73% 56.13%

MEDICARE 26.77% 31.09%

PRIVATE/OTHER 49.50% 42.79%
FOR 2007 MEDICAID MEDICARE PRIVATE
INCOME PER PATIENT DAY $520.23 $377.96 $508,014

_ EXPENSE PER PATIENT DAY 532,74 532.74 532.74

NET INCOME PER PATIENT DAY (12.48) (154.75) (24.70)
FOR 20035
INCOME PER PATIENT DAY $505.83 $305.13 $474.72
EXPENSE PER PATIENT DAY 474,88 474.88 474.88
NET INCOME PER PATIENT DAY 30.95 (1 69.75) (0,16)
MEDICAID RATE BREAKDOWN: 2007 2006

OPERATING $160.94 $157.80

GAPITAL 7752 62.97

TOTAL $238.46 $220.77

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SFA Attachment ~
_ Financial Summary
Bayview Nursing and Rehabllitation Center, LLC
FISCAL PERIOD ENDED
42/31/07 42/31/06 42/31/05
"ASSETS - CURRENT $4,271,325 $3,582,473 «$9,267,551

ASSETS - FIXED AND OTHER 6,733,653 6,951,801 7,187,862
LIABILITIES - CURRENT 4,545,704 3,543,473 3,128,572
LIABILITIES - LONG-TERM 4,379,519 4,690,946 $044,132
EQUITY $2,079,756 $2,900,455 $2,282,709
INCOME $16,811,897 $16,615,109 $15,728,482
EXPENSE 16,638,107 16,222,246 15,340,444
NET INCOME $173,790 $392,857 $338,038
OPERATOR/RELATIVE SALARIES | $0 $5 $0
NUMBER OF BEDS 185 . . 185 4185
PERCENT OF OCCUPANCY (DAYS) 91.4% * 95.1% .96,2%
PERCENT OCCUPANCY (DAYS):

MEDICAID 86.4% 90,4% 94.4%

MEDICARE 11.6% 8.5% 5,4%

PRIVATE/OTHER 2.0% 1.4% 0.3%
MEDICAID RATE BREAKDOWN 2008 2007 2006
OPERATING $231.46 $227.79 $222.67
CAPITAL 48.97 46.73 . 13.73
TOTAL $250.43 $244.43 $236.40
Proposed Members with ownership Interest % Ownership
Bent Philipson 17.0%

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Park Avenue Extended Care Facility

_ ‘BEA Attachment H

Financial Summary

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FISCAL PERIOD ENDED .

 

 

 

 

 

 

 

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42/4107 42/31/06 12/31/05
ASSETS - CURRENT $9,169,593 $7,354,291 $5,298,342
ASSETS - FIXED AND OTHER $10,692,660 $10,528,183 10,453,331
— UABILITIES - CURRENT $4,416,698 $5,637,753 6,255,210
‘LIABILITIES - LONG-TERM $8,716,500 $7,669,256 4,978,731,
EQUITY 6,729,075 4,575,465 4,457,792
INCOME $26,122,909 $23,042,912 $22,010,571
EXPENSE $24,306,393 $22,925,179 22,279,136
NET INCOME 4,816,110 117,733 (268,765)
OPERATORIRELATIVE SALARIES $0 $0 $0
_ NUMBER OF BEDS 2A0 240 | 240
PERCENT OF OCCUPANCY (DAYS) 97.92% 95.26% 92.24%
PERCENT OCCUPANCY _—
MEDICAID - F7,25% 77.30% 78.32%
MEDICARE 12.49% 16.03% 14.45%
PRIVATE/OTHER 40.32% 6.68% 7.24%
MEDICAID RATE BREAKDOWN: 2008 2007 2006
OPERATING $229.24 $218.73 $208.73
CAPITAL 37,45 41.44 43.77
TOTAL $260.69 $260.17 $242.50
Proposed Member Interest % Ownership
Esther Farkovitz _ 7.00%
Bent Philipson 22.50%
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" Financial Summary BFA-Attaciunent J

Townhouse Extended Care Facility

 

 

 

 

 

 

 

FISCAL PERIOD ENDED
42/31/07 12/34/06 — 12/31/05

ASSETS - CURRENT $6,394,845 $4,758,749 $3,459,408
ASSETS - FIXED AND OTHER 12,185,437 13,079,745 42,964,125
LIABILITIES - CURRENT 7,210,777 9,624,657 8,248,405
LIABILITIES - LONG-TERM - 7,529,739 “5,452,784 5,792,557
EQUITY $3,839,766 $2,761,056 $2,382,571
INCOME $32,365,444 $30,388,158 $29,074,906
EXPENSE 34,374,234 30,009,673 32,911,372
NET INCOME $991,210 $378 485 ($3,836,456)
OPERATORIRELATIVE SALARIES $0 $0 $0
NUMBER OF BEDS 260 260 260
PERCENT OF OCCUPANCY (DAYS) 96.53% - 95.24% | 73.35%
PERCENT OGCUPANCY (DAYS):

MEDICAID 73.70% 74.47% 96.26%

MEDICARE 43.75% 16.42% 3.22%

PRIVATE/OTHER 12.55% 9.11% 0.52%
MEDICAID RATE BREAKDOWN: 2008 2007 2006
OPERATING 225,15 213,58 207.30
CAPITAL 42.42 42.45 34.20
TOTAL 267.57 256.03 238.50

Proposed Members with ownership Interest Ownership Interest
Esther Farkovitz 7.00%
Bent Philipson 22.50%
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BFA Attachment B

Niskayuna Operating Co., LLC
Doing Business As
Pathway Rehabilitation and Special Care Center

Pro Forma Balance Sheet

Assets
Working Capital $2,675,800
Total Assets $2,675,800

Liabilities and Equity

Liabilitles

Mortgage $0
Working Capital Loan $1,337,917
Total Liabilities $1,337,917
Members’ Equity $1,337,883

Total Liabilities and Members’ Equity $2,675,800
Oct 24 10 41 5eBSe 1:10-Gy,Q1265-GTS-DRH Document 5-12 Filed stjsga/fue, Page 15 of 4p

As shown on BFA Attachment I, Throgs Neck Extended Care Facility had an average negative werking capital position
and average positive net asset position, and generated an average net income of $175,312 during the period 2005
through 2007. The 2005 net loss was due fo a change in ownership. The 2005 net loss was due to a change in
ownership and operations have since been improved.

As shown on BFA Attachment J, Townhouse Extended Care Facility had an average negative working capital and an
average positive net asset position, and generated an average net toss of $822,257 during the period 2005 through
2007. The negative working capital was caused due to a change in ownership of the facility back in November 2003.
This negative working capital is due to the facility incurring increased operating costs at the start of operations and
on!y receiving a median rate to cover their costs at inception. The facility intends fo rectify the situation by requesting a

rebased rate in order to more accurately cover their costs.

Based on the preceding, and subject to the noted contingencies, it appears that the applicant has demonstrated the
capability to proceed in a financially feasible manner, and contingent approval is recommended.

Recommendation
From a financial perspective, approval is recommended.

. Attachments .

 

BFA Attachment A Net Worth of proposed members
BFA Attachment B Pro Forma Balance Sheet .
BFA Attachment C Net Worth of proposed members of the realty entities
BFA Attachment D © Financial Summary- Northwoods Extended Care Facility at Hiiltop
BFA Attachment E Financial Summary- Avalon Gardens Rehabilitation Center
BFA Attachment F Financial Summary- Bayview Nursing and Rehabilitation Center
BFA Attachment G Financial Summary- Nassau Extended Care Facitity
BFA Attachment H Financial Summary- Park Avenue Extended Care Facility
BFA Attachment! Financial Summary- Throgs Neck Extended Care Facility
BFA Attachment J Financial Summary- Townhouse Extended Care Facility
BFA Attachment K Establishment Checklist
_ BHFP Map

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OPERATING BUDGET

Following is a summary of the submitted operating budget for the RHCF, presented in 2009 doilars, for the first year
subsequent to change in ownership:

Per Diem Total
Revenues: ,
Medicaid RHCF $214.64 $783,445
Medicare RHCF 403.47 2,593,522
Private Pay RHCF 519.54 1,590,846
Medicaid TBI 416.94 2,091,217
Medicare TBI 413.70 723,567
Private Pay TBI ‘466.48 783,694
Medicaid Vent. 552.72 593,626
Medicare Vent 380.81 216,681
Private Pay Vent 689.71 657,983
Medicaid Pediatric 682.25 , 6,211,883
Private Pay. Pediatric 686.34 462,593
Total Revenue 16,709,057
Expenses: ;
Direct $267.09 ——- $8,070,512
Indirect 100.74 3,420,152
Noncomparable 54,67 1,858,480
Capital 60.28 1707 650
Total Expense $16,054,794
Net Income — $654,263
Utilization (Patient days} 33,961
Occupancy 83.08%

The following is noted with respect to the submitted operating budget:

¢ Direct and Indirect costs plerce the respective ceiling

« The capital component of the Medicaid rate is based on historical cost

e Expenses include lease rental

e Medicaid revenues assume no rebasing, which is accurate, and include assessment revenues.

« Budgeted case mix of 1.25 was utilized by the applicant at the time of CON filing for change in ownership which is
’ comparable to the current case. The applicant has adjusted cost for pharmacy and bankruptcy fees

e Overall utilization is projected at 83.08%, while utilization by payor source is expected as follows:

Medicaid 55.49%
Medicare 25.75%
Private Pay ; _ 18.76%

e Breakeven occupancy is projected at 79.01%

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The proposed members also are seeking establishment approva! to acquire ownership of the following residential
health care facilities, also part of the facilities acquisition:

Applicant
Troy Operating Co., LLC
d/b/fa Woodlands
Rehabilitation and Nursing
Center
Rensselaer Operating Co.,
LLC d/bfa Rosewood
Rehabilitation and Nursing
Center
Cortland Operating Co., LLC
d/bfa Crown Center for
Rehabilitation and Nursing

CON
082135

082136

082137

Facility Number of Beds
Northwoods Rehabilitation and ; 120
Extended Care Center at Troy,
Rensselaer County
Northwoods Rehabilitation and 80
Extended Care Center at
Rosewood Gardens, Rensselaer
County
Northwoods Rehabilitation and 200

Extended Care Center at
Cortland, Cortland County

Alf four applications will be processed concurrently. Esther Farkovitz and Bent Phitipson presently have ownership
interests in the following Nursing Homes: Nassau Extended Care Facility, a 280 bed RHCF, located in Hempstead,
New York: Park Avenue Extended Care Facility, a 240 bed RHCF, located in Long Beach, New York: Throgs Neck
Extended Care Facility, a 205 bed RHCF, located In Bronx, New York and Townhouse Extended Care Center, a 286
bed RHCF in Uniondale, New York. Bent Philipson also has ownership interests in Avalon Gardens Rehabilitation and
Health Care Center, a 353 bed RHCF, located in Smithtown, New York and Bayview Nursing and Rehabilitation
Center, A 185 bed RHCF, located in Island Park, New York.

FINANGIAL SUMMARY -

The facility is being sold in accordance with the bankruptcy proceedings. The current operator is Esther Farkovitz as
the receiver. There are no project costs associated with this proposal.

Budget: Revenues: $16,709,057
Expenses: 16,054.794
Gain/(Loss): $654,263

Subject to noted contingencies, it appears that the applicant has demonstrated the capability to proceed in a
financially feasible manner. -

FINANCIAL ANALYSIS
ASSET PURCHASE AGREEMENT

The Change In ownership will be effectuated in accordance with the terms of the executed Asset Purchase
Agreements, summarized below: :

Date: August 12, 2008

Seller: Mark Fishman, Chapter 11 Trustee, for Highgate Manor
Group, LLC and Highgate LTC Management, LLC

Purchaser: Oasis HC, LLC

The reai estate and all assets used in operation of the facility,
including: the trade names of all four Northwoods
Rehabilitation and Extended Care Facilities; equipment;
supplies and inventory; prepaid expenses; documents and
records; assignable leases, contracts, licenses and permits,
telephone numbers, fax numbers and all fogos; resident trust
funds; deposits; accounts and notes receivable; cash,
deposits and cash equivalents;

Any security, vendor, utility or other deposits with any
Governmental Entity; any refunds, debtor claims, third-party

Purchased Assets:

Excluded Assets:

(a

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- The review of operations of the remaining facilities for the time periods indicated revealed that a substantially
consistent high level of care has been provided.

2. PROJECT REVIEW

« PROGRAM REVIEW:

No changes in program are being proposed iri the application. The purpose of the application ts to establish
Niskayuna Operating Ga., LLC as the new operator of Northwoods Rehabilitation and Extended Care Center at Hilltop.
The proposed change In ownership is part of a four facility acquisition involving Highgate LTC Management, LLC the
operator of the four facilities, and Highgate Manor Group, LLC, the owner of the realty. The court appointed trustee of
Highgate Manor Group, LLC is Mark |. Fishman, Esq., who has been charged with the authority and function to sell the
facilities. Highgate LTC Management and Highgate Manor Group, LLC filed voluntary petitions for reorganization
under Chapter 11 of the Bankruptcy Code. The courts appointed Long Hill Alliance Group as receiver of the facilities
until a purchaser could be identified for the operations and realty interests. On August 12, 2008 Oasis HC, LLC (sole
member Benjamin Landa) entered into a Purchase Agreement fo acquire the rights, title and interest in the real
estate, business and operations. Ms. Esther Farkovitz, as sole member of EF Consulting, LLC, was approved by the
Department to replace Long Hill Alliance Group as the receiver until a Cerlificate of Need Application is approved
establishing a new operator for the facilities. Oasis HC, LLC has designated Niskayuna Operating Co., LLC as the
proposed operator of Northwoods Rehabilitation and Extended Care Facility at Hilltop, and has assigned the real
property interest to 1805 providence Avenue, LLC. Under the terms of the Purchase Agreement, the Purchaser will
designate an Operating Designee to take over the operations of the Faciilties at the Closing. Upon the Closing of the
purchase, Oasis HC, LLC will assign the operating and real property interests of the four facilities to the following

entities:

 

FACILITY - _ | - _ OPERATOR . REALTY ENTITY
Rosewood Gardens Rensselaer Operating Co., LLC | 284 Troy Road, LLC
. dib’a Rosewood Rehabilitation .
and Nursing Center’
Troy Troy Operating Co., LLC d/ofa_ | 100 New Turnpike Road, LLC
Woodlands Rehabilitation and
; Nursing Center
Hilltop Niskayuna Operating Co, LLC | 1805 Providence Avenue, LLC
d/b/a Pathway Rehabilitation ‘
and Special Care Center
Cortland Cortland Operating Co., LLC 28 Kellogg Road, LLG
d/bfa Crown Center for
Rehabilitation and Nursing

 

 

 

 

 

 

 

 

 

The members of the four proposed realty entities are:
Benjamin Landa — 17.5%

Philipson Family Limited Partnership ~ 17.5%

Dovid Rubinstein — 40%

Rochel David - 10%

Leah Friedman - 10%

Goldie Platschek — 5%

No consulting or administrative agreement proposed in the application.

« PHYSICAL ENVIRONMENT:

No changes in physical environment are being proposed in this application. Hilltop and Cortland facilities wilt be
submitting additional applications to convert existing residential health care facility beds to ventilator-dependent beds.

Hilltop plans to convert its 36 pediatric beds, which include two scheduled short term care beds, fa 20 ventilator-
dependent beds for adults, with the remaining beds utilized as traditional residential health care facility beds. Cortland

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: Programmatic Analysis oe

Program Description

FACILITY INFORMATION

 

 

 

EXISTING PROPOSED

FACILITY NAME Norihwoods Rehabilitation and Extended | Pathway Rehabilitation and Special
Care Facility at Hilltop : Care Center

ADDRESS 1805 Providence Avenue Same

Niskayuna, NY 12309
{Schenectady County)

 

 

 

 

 

 

RHCF CAPACITY 170 Same
70 TBI beds
40 traditional RACF beds
2 SSTC beds
ADHC PROGRAM NA Same
CAPACITY
| TYPE OF OPERATOR Limited Liability Company Same
CLASS OF OPERATOR Proprietary Same :
OPERATOR Highgate LTC Management, LLC Oasis HC, LLC has designated ;
. Niskayuna Operating Co., LLC ass!
Dianna Koehler-Nachamkin — 49% the proposed operator of NECF at
Howard Krant - 25% . | Hilltop”
Scott Bialick — 25%
Eugene Nachamkin-1% = Esther Farkovitz-50%

Bent Phitipson-50%

Long Hill Alliance Group — court
appointed receiver effective 11/29/06

EF Consulting, LLC (Esther Farkovitz
sole member) — DOH approved receiver
replacing Long Hill Alliance Group
effective 11/3/08

 

 

 

 

ESTABLISHMENT/CONSTRUCTION INFORMATION
4. ESTABLISHMENT APPLICATION REVIEW
1. CHARACTER AND COMPETENCE:

e FACILITIES REVIEWED:

Nassau Extended Care Facilily RHCF 2004 to Present
Park Avenue Extended Care Facility RHCF 2004 to Present
Throgs Neck Extended Care Facility RHCF 2004 to Present
Townhouse Extended Care Center / RHGF 2004 te Present
Avalon Garden Rehabilitation and Health Gare Center RHCF 2003 to Present
Bayview Nursing and Rehabilitation Center RHCF 2003 to Present
The Hamptons Center for Rehabilitation & Nursing RHCF 7/10/08 to Present
Northwoods Rehabilitation and Extended Care RHCF 11/3/08 to Present a
Facility at Cortland
Northwoods Rehabilitation and Extended Care RHCF 11/3/08 to Present
Facility at Hilltop
_ Northwoods Rehabilitation and Extended Care - RHCF 11/3/08 to Present

Facility at Rosewood Gardens

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| Recommendations \..
Health Systems Agency — -
_ There will be no HSA review of this application.

Office of Health Systems Management

Approval contingent upon:

4. The submission of a commitment signed by the applicant which indicates that, within two years from the date of
the council approval, the percentage of all admissions who are Medicaid and Medicare/Medicaid eligible at the
time of admission will be at least 75 percent of the planning area average of all Medicaid and Medicare/Medicaid
admissions, subject to possible adjustment based on factors such as the number of Medicaid patients in the area
awaiting placement, the facility's total Medicaid patient days, the facility's case mix, the length of time before
private paying patients became Medicaid eligible, and the financial impact on the facility due to an increase in
Medicaid admissions. [RNR]

2. Submission of a loan commitment for working capital acceptable to the Department of Health, [BFA]

3. Submission of an affidavit from each member in relation to the realty entities, acceptable to the Department of
Health, which states that he or she is willing to contribute resources disproportionate to ownership percentages.

[BFA) ,

4. Submission ofan original affidavit from the applicant members (or stockholders or partners) making a commitment
to personally fund the balloon payment on the proposed mortgage, should tezms acceptable to the Department of

Heaith be unavailable at the time of refinancing. [BFA] " -

State Council Recommendation
June 4, 2009.

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